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                                                                                            Pennzoil Place
                                                                               700 Milam Street, Suite 1300
                                                                                       Houston, TX 77002
                                                                                      Phone: 713-715-1660
                                                                                      www.parkinslee.com

                     Charles M. Rubio | crubio@parkinslee.com | Direct: 212-763-3331


                                            August 31, 2020

                               PRIVILEGED AND CONFIDENTIAL

Via email: rtow@rtowtrustee.com

Rodney Tow, as Chapter 7 Trustee for Garrison Municipal Partners, L.P.
Attn: Rodney Tow, Chapter 7 Trustee
1122 Highborne Cay Court
Texas City, TX 77590-1403

Re: Attorney Engagement Letter

Dear Rodney Tow:

        Thank you for selecting Parkins Lee & Rubio LLP (“PLR” or the “Firm”) as your legal counsel.

        The purpose of this letter and the attached Terms of Retention (together, the “Engagement
Letter”) is to set forth the terms of legal representation of Rodney Tow, as Chapter 7 Trustee for
Garrison Municipal Partners, L.P. (“you” or the “Client”).

        Scope of Engagement. PLR will serve as general bankruptcy counsel to the Client (the “Matter”).
This engagement and our attorney-client relationship will be deemed to have commenced on August
1, 2020 (the “Engagement Commencement Date”).

        Legal Fees and Expenses. For the work performed by PLR for the Client, PLR will be entitled to
a fee in the amount equal to the time expended by each attorney, paralegal and other staff member
multiplied by the hourly rates set forth in the attached Hourly Billing Rate Schedule. The Client is
responsible for reimbursing the Firm for expenses incurred on behalf of the Client pursuant to the
attached Client Expense Policy.

        Retainer. PLR is not requiring you to provide a retainer at this time but reserves the right to
request a retainer if the Firm anticipates that there is a risk in collecting future attorney’s fees and/or
reimbursement of costs. If a retainer is ever required, the instructions for remitting the retainer funds
to the Firm will be provided in a separate electronic correspondence. The retainer will serve as a
security deposit and will be applied towards your final invoice for this Matter. Any balance will be
returned to you. If you do not pay your invoices timely, the Firm may apply the retainer to an unpaid
invoice. The Firm reserves the right to have the retainer replenished by the Client if the Firm
anticipates that there is a risk in collecting future attorney’s fees and/or reimbursement of costs.

      Invoices/Fee Statements. The Firm will issue you a fee statement during the month following the
month that services are provided. The fee statements will include the details of the legal services
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performed, and the expenses incurred, for the Client. PLR will seek payment of its fee statements
pursuant to the section 330 of the Bankruptcy Code and any other applicable orders of the Bankruptcy
Court.

        Conflicts. The Firm has conducted an initial conflicts search based on information you
provided. The Firm did not identify any connection that would prevent the Firm from representing
you in this Matter. PLR may conduct additional conflicts searches following the commencement of
this engagement. If the Firm identifies any conflict, then the Firm and the Client shall take further
actions as may reasonably be required to satisfy the Firm’s ethical obligations and duties to the Client,
all as more particularly described in the Terms of Retention.

          General Prospective Waiver and Informed Consent. The Firm represents many other companies and
individuals. It is possible that during the time that we are representing you, some of our present or
future clients will have disputes or transactions with you. You agree that we may continue to represent
or may undertake in the future to represent existing or new clients in any business or transactional
matter that is not substantially related to our work for you, even if the interests of such clients in those
other matters are directly adverse to you. We are not aware of any such matters at the present time.
We agree, however, that your prospective consent to conflicting representations contained in the
preceding sentence shall not apply in any instance where, as a result of our representation of you, we
have obtained proprietary or other confidential information of a nonpublic nature, that, if known
to such other client, could be used in any such other matter by such client to your material
disadvantage. You are not giving the Firm a prospective waiver as to conflicting representation related
to a litigation matter against you. We encourage you to seek independent counsel regarding the import
of the potential conflicts and prospective waiver discussed and this acknowledgment, waiver and
informed consent. We emphasize that you remain completely free to seek independent counsel at any
time even if you decide to sign this Engagement Letter agreeing to its terms and the Terms of
Retention.

        Please call me with any questions you have after you complete your review of this Engagement
Letter including the Terms of Retention. If the Engagement Letter is acceptable to you in this form,
please indicate so by signing, dating and returning it to me.

                                                          Very truly yours,




                                                          Charles Rubio
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ACCEPTED AND AGREED:

Rodney Tow, as Chapter 7 Trustee for Garrison Municipal Partners, L.P.


 /s/ Rodney D. Tow
___________________________
Rodney Tow
Chapter 7 Trustee


 8/31/20
___________________________
Date
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                                       TERMS OF RETENTION

These Terms of Retention are part of the Parkins Lee & Rubio LLP Engagement Letter. Because they
are an integral part of our agreement to provide legal services, we ask that you review this document
carefully. If you have any questions after reading it, please contact us promptly.

Who Will Provide Legal Services? In most cases, one attorney will be your principal contact. From time
to time, that attorney may delegate parts of your work to other attorneys or to legal assistants or non-
legal professionals in the Firm. We do this in order to involve those with special knowledge or
experience in an area and to provide services to you in a timely, efficient and cost-effective manner.

Scope of the Representation. As a law Firm, we undertake to provide representation and advice on the legal
matters for which we are engaged, and it is important that we both have a clear understanding of the
legal services that the Firm has agreed to provide. In our Engagement Letter with you, we specify the
matter in which we will provide representation and the scope of the services we will provide. Please
note that we do not provide legal advice regarding any tax issues or effects nor are we responsible for
notifying any insurance carrier of any lawsuit. If there are any questions about the terms of
engagement, including the scope of the representation that we are to provide in the matter, please
raise those questions promptly with your principal contact at the Firm.

Identity of Client. It is our policy to represent only the person or entity identified in our Engagement
Letter and not any affiliates. For example, unless otherwise specifically stated in our Engagement
Letter, if you are a business organization (corporation, partnership, LLC, etc.), our representation does
not include any parents, subsidiaries, employees, officers, owners, or affiliates (including commonly
owned companies); if you are an individual, our representation does not include your employer,
partners, spouse, siblings, or other family members.

Your Cooperation. To enable us to provide effective representation, you agree to: (1) disclose to us, fully
and accurately and on a timely basis, all facts and documents that are or might be material or that we
may request, (2) keep us apprised on a timely basis of all developments relating to the representation
that are or might be material, (3) attend meetings, conferences, and other proceedings when it is
reasonable to do so, and (4) otherwise cooperate fully with us.

Outcomes. We cannot and do not guarantee the outcome of any matter. Any expression of our
professional judgment regarding your matter or the potential outcome is, of course, limited by our
knowledge of the facts and based on the law at the time of expression. It is also subject to any unknown
or uncertain factors or conditions beyond our control. Any expressions on our part concerning the
outcome of the representation, or any other legal matters, are based on our professional judgment and
are not guarantees.

Conflicts of Interest. We attempt to identify actual and potential conflicts at the outset of any engagement.
In some instances, the applicable rules of professional conduct may limit our ability to represent clients
with conflicting or potentially conflicting interests. Those rules of conduct often allow us to exercise
our independent judgment in determining whether our relationship with one client prevents us from
representing another. In other situations, we may be permitted to represent a client only if both or all
clients consent to that representation. If a controversy unrelated to the subject matter of the
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representation develops between you and any other client of the Firm, we will follow the applicable
rules of professional responsibility to determine whether we may represent either you or the other
client in the unrelated matter. Unfortunately, sometimes conflicts arise or become apparent after work
begins on an engagement. If this happens, we will do our best to address and resolve the situation in
the manner that best serves the interests of all of our affected clients. Rules concerning conflicts of
interest vary with the jurisdiction. In order to avoid any uncertainty, the Texas Disciplinary Rules of
Professional Conduct will be applicable to the representation.

Texas law requires that we inform clients of the existence of a grievance process. The State Bar of
Texas investigates and prosecutes professional misconduct committed by Texas attorneys. Although
not every complaint against or dispute with a lawyer involves professional misconduct, the State Bar’s
Office of Chief Disciplinary Counsel will provide you with information about how to file a complaint.
Please call 1-800-932-1900 for more information. Also, the Supreme Court of Texas has promulgated
The Texas Lawyer’s Creed - A Mandate for Professionalism, which states that an attorney should
inform a client of the creed’s contents when undertaking a representation. We will send you a copy
of the creed upon request. It is also available online at https://www.texasbar.com.

Fees. The basis for determining our fee for legal services is set forth in the Engagement Letter itself.
If you are unclear about the basis for determining your fee, please contact the attorney responsible for
your representation. Clients frequently ask us to estimate the fees and other charges they are likely to
incur in connection with a particular matter. We are pleased to respond to such requests, whenever
possible, with an estimate based upon our professional judgment. This estimate always carries the
understanding that, unless we agree otherwise in writing, it does not represent a maximum, minimum,
or fixed-fee quotation.

Expenses. Our Firm may incur and pay a variety of charges on your behalf in connection with the
engagement. Whenever we incur such charges on your behalf, we will bill them to you as part of your
invoice in accordance with the attached Client Expense Policy.

Delinquent Account and Withdrawal of Engagement. We will bill you on a periodic basis, for fees and other
charges, as described in the Engagement Letter. Should your account become delinquent and
satisfactory payment terms are not arranged, as permitted under the rules regulating our profession,
we will be required to withdraw from the representation. In most cases, and except as prohibited by
ethical considerations, if your account becomes more than 30 days delinquent, we will cease
representation until we can arrive at a mutually satisfactory arrangement for payment of the delinquent
account and the resumption of services. At such time we may charge interest on the outstanding
amount due of one and a half percent per month or the maximum amount allowed under applicable
law, whichever is less.

Additional Retainer. If the representation will require a concentrated period of activity, such as a trial,
arbitration, or hearing, we reserve the right to require the payment of all amounts then owing to us
and the payment to us of an additional retainer for the fees and expenses we estimate will be incurred
in preparing for and completing the trial, arbitration, or hearing, as well as arbitration fees likely to
be assessed. If you fail to timely pay any retainer deposit requested, we will have the right to cease
performing further work for you and withdraw from the representation.
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Obligation to Pay Fees and Expenses. Unless your Engagement Letter expressly provides that a third-party
is agreeing to pay your attorney’s fees and such third-party has agreed in writing, regardless of whether
you are insured to cover the particular risk or you are pursuing parties for recovery of attorneys’ fees
and other charges, it remains your obligation to pay all amounts due to us within the time periods
reflected in the Engagement Letter.

Retention of Complementary Counsel. From time to time in the course of our engagement it may become
prudent to engage additional counsel to work with and complement our representation of you. That
complementary representation will only be done with your prior written consent and on terms and
conditions which you approve. The engagement of complementary counsel may be done directly with
you or through our firm, depending on the nature and extent of the representation involved.

Conclusion of Engagement. Because our Firm has been engaged to provide legal services in connection
with the representation in the matter as specifically defined in our Engagement Letter, the attorney-
client relationship terminates upon our completion of our services related to the representation in the
matter. After completion of the representation, upon written notification by the Firm that the matter
is terminated, changes may occur in the applicable laws or regulations that could affect your future
rights and liabilities in regard to the matter. Unless we are actually engaged after the completion of the
representation to provide additional legal services, the Firm has no continuing obligation to give advice
with respect to any future legal developments that may relate to the matter. If you later retain us to
perform further or additional services, our attorney-client relationship will be subject to the terms of
engagement agreed to at that time; in the absence of any specific agreement, these Additional Terms
of Engagement shall apply to the further or additional representation.

Termination. We look forward to the opportunity to complete our representation of you on the
specified matter. You may, however, terminate our representation at any time, with or without cause,
by notifying us in writing. We will return your papers and other property to you promptly upon receipt
of your request for those materials unless they are appropriately subject to a lien. You agree that we
will own and retain our own files pertaining to the matter or case, including, for example, Firm
administrative records, time and expense reports, personnel and staffing materials, credit and
accounting records, and internal attorney’s work product such as drafts, notes, internal memoranda,
and legal and factual research including investigative reports, prepared by or for the internal use of
attorneys. Your termination of our services will not affect your responsibility for payment of legal
services rendered and other charges incurred before termination and in connection with an orderly
transition of the matter.

Document Retention. You acknowledge and agree that the Firm may maintain all documents related to
your matter digitally. The Firm is not required to maintain physical copies of any documents. At the
conclusion of our representation of you, it is our firm’s policy to return to you any physical documents
to you. We will provide you with copies of any other documents you specifically request (such as
copies of depositions, court documents, etc.), and you agree to pay for the associated copying costs
and any professional time incurred in identifying any such documents you request. You agree that our
Firm may elect to keep, at its own expense, copies of any documents related to this matter or otherwise
returned to you. Anytime following seven (7) years after the conclusion of our representation of you,
the Firm may destroy or delete any files related to your engagement.
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Dispute Resolution. The Engagement Letter is being entered and is to be performed within the State of
Texas. The Engagement Letter shall be interpreted in accordance with Texas law (without application
of choice of law principles). All parties to the Engagement Letter agree that Houston, Harris County,
Texas is the only permitted location (the venue) for the resolution of all disputes that arise under or
relate in any way to the Engagement Letter or to any of the services provided by our Firm.

Binding Arbitration. Any dispute arising out of or relating to this agreement, our interactions leading to
it, or our performance of the agreement or of the representation of you shall be resolved through
binding arbitration in Harris County, Texas. First, sixty (60) days before filing any arbitration
proceeding, the party requesting relief must demand and attend mandatory mediation before a
mutually acceptable mediator to attempt to resolve any dispute. In the event the parties are unable to
resolve such dispute, the affected party shall initiate an arbitration proceeding utilizing the rules of
(but not employing) the American Arbitration Association (“AAA”) for the arbitration of complex
commercial cases. In any dispute of less than $250,000, the parties shall jointly appoint a single
arbitrator. In any dispute of a greater amount, each party shall appoint his/her or its own party
arbitrator, and these two-party arbitrators shall in turn appoint a third, neutral arbitrator. All party
arbitrators’ conduct and tests for eligibility shall be governed by AAA rules of disinterest. The time
limits hereunder shall not apply in the event emergency injunctive relief is required, but only to the
extent of such emergency injunctive relief itself. The decision by the arbitration panel will be final and
binding.

You should know that for your agreement to arbitrate to be effective under Texas law, you as the
client must receive sufficient information about the differences between litigation and arbitration to
permit you to make an informed decision about whether to agree to binding arbitration. Under the
Texas Rules of Disciplinary Procedure, we can explain the significant advantages and disadvantages
of binding arbitration to the extent we reasonably believe is necessary for an informed decision by
you. The scope of the explanation will depend on the sophistication, education and experience of the
client.

In the case of a highly sophisticated client such as a large business entity that frequently employs
outside lawyers, no explanation at all may be necessary. In situations involving clients who are
individuals or small businesses, we normally advise the client of the following possible advantages and
disadvantages of arbitration as compared to a judicial resolution of disputes: (1) the cost and time
savings frequently found in arbitration, (2) the waiver of significant rights, such as the right to a jury
trial, (3) the possible reduced level of discovery, (4) the relaxed application of the rules of evidence,
and (5) the loss of the right to a judicial appeal because arbitration decisions can be challenged only
on very limited grounds.

Additional factors you as the client should consider are: (1) the privacy of the arbitration process
compared to a public trial; (2) the method for selecting arbitrators; and (3) the obligation, if any, of
the client to pay some or all of the fees and costs of arbitration, if those expenses could be substantial.
Although the disclosure can vary from client to client, depending on the circumstances, the overriding
concern is that we should provide information necessary for the client to make an informed decision.
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By returning the executed Engagement Letter, you acknowledge that you have been provided
ample opportunity to have counsel explain to you the advantages and disadvantages of
binding arbitration to make an informed decision about agreeing to the provision.

Modifications. The Engagement Letter and these Additional Terms of Engagement reflect our entire
agreement on the terms of this engagement. These written terms of engagement are not subject to any
oral agreements or understandings, and any change in those terms can only be made in writing signed
by you and the Firm.
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                                    Hourly Billing Rate Schedule

                  BILLER                                             RATE
              Lenard M. Parkins                                       $975
                 Kyung S. Lee                                         $750
               Charles M. Rubio                                       $600
              Associate Attorneys                                  $300 - $500
                  Paralegals                                       $180 - $250
               Legal Assistants                                     $50 - $75
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                                         Client Expense Policy

In connection with the representation of a client, the Firm may incur expenses. Unless the
Engagement Letter expressly provides to the contrary, the Firm’s and the Client’s rights and
responsibilities related to such expenses are as follows:

Legal Research and Related Services. The Firm subscribes to certain online research services. These
subscription-based services are part of the Firm’s overhead and not charged to the Client. Certain
services are charged on a per-transaction including, without limitation, the following examples: UCC
searches, lien searches, title searches and other record searches. The Client is responsible for these
pre-transaction charges. The Firm will advance the costs for all such services and submit bills to you
for reimbursement. The Firm will seek prior approval from you if the anticipated aggregate monthly
expense for such services exceed $500.00. The Firm reserves the right to have the Client pay these
expenses directly.

Document Management and eDiscovery Services. The Firm subscribes to advanced document management
software systems. These subscription-based systems are part of the Firm’s overhead and not charged
to the Client. The Client is responsible for eDiscovery services. eDiscovery service providers typically
charge per gigabyte of information stored. Additional services from the outside vendor may be
required other than storage of the information and typically these are separately charged. If the Firm
uses an eDiscovery service during the representation, then the Firm will seek the Client’s prior
approval before incurring expenses for such services. Rather than billing these expenses through the
Firm, the Firm reserves the right to have the Client contract directly with the outside vendor to pay
for these expenses. For the avoidance of doubt, the Client is responsible to the Firm for the payment
of all fees and expenses incident to the firm's review and processing of discovery materials that are
not handled by an outside vendor.

Printing, Shipping, Postage and Related Expenses. For all printing, shipping, postage, and related services
the Firm may handle them in house or use an outside vendor. The Firm will not charge for print jobs
that are less than 150 pages. The Client is responsible for all such printing, shipping, postage, and
related services at costs or the prevailing market rate if handled in house. The Firm will seek prior
approval from the Client if the anticipated aggregate monthly expense for printing, shipping, postage
and related services exceeds $500.00. The Firm reserves the right to have the Client pay these expenses
directly.

Travel Expenses. The Client will reimburse the Firm for expenses incurred in connection with out-of-
town travel, but only for coach class travel and, where appropriate, the cost of a rental car. All related
travel expenses, i.e., lodging and meals, must be reasonable under the circumstances. The Firm will
advance all such travel expenses and submit bills to you for reimbursement which will be included in
the regular invoices to the Client. The attorney handling your matter will confer with you prior to
traveling for your matter.

Court Costs. If requested by the Firm, the Client will advance court filing fees and all similar expenses
prior to the Firm incurring such expenses. Any such expenses incurred by the Firm, will be included
in the Firm’s invoices to the Client for payment.
